                                 OPINION
On September 9, 1991, appellee, Water M. Cwalina, pled guilty to five counts of sodomy, in violation of R.C. 2905.44, one count of attempt to have carnal knowledge, in violation of R.C. 2905.04, and one count of exhibiting obscene literature, in violation of2905.34. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of one to twenty years on each count of sodomy, one to fifteen years on the charge of attempt to have carnal knowledge, and a term of not more than seven years on the charge of exhibiting obscene literature, each sentence to run concurrently. Having pleaded guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 31, 1997, the trial court, suasponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed. _________________________________ JUDGE WILLIAM M. O'NEILL
FORD, P.J.,
NADER, J., concur.